59 F.3d 167NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Cornelius TUCKER, Jr., Plaintiff-Appellant,v.Bill CLINTON, President;  J.B. French, Warden;  SergeantGrimes;  L.C. Phillips, Director, Ncdop;  JudgeFox, Chief;  James B. Hunt, Governor,Defendants-Appellees.
    No. 95-6233.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 18, 1995.
    Decided:  June 23, 1995.
    
      Cornelius Tucker, Jr., Appellant Pro Se.
      Before NIEMEYER and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's orders denying leave to file a complaint pursuant to a pre-filing injunction and denying Appellant's motion pursuant to Fed.R.Civ.P. 59(e).  We have reviewed the record and the district court's opinion, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Tucker v. Clinton, No. CA-94-160-5-BR (E.D.N.C. Dec. 28, 1994;  Feb. 13, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    